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 8                                UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                  No. 2:03-cr-00042-MCE
12                   Plaintiff,
13         v.                                   ORDER
14   CHARLES LEE WHITE,
15                   Defendant.
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17         The Court reviewed is in receipt of Defendant Charles Lee White’s Request for

18   Court to Order Attorney George Boisseau to Send Legal Records (ECF No. 1207). The

19   Court has no record of Mr. Boisseau having any association with this case. Accordingly,

20   Defendant’s Request is DENIED without prejudice.

21         IT IS SO ORDERED.

22   Dated: June 29, 2015

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